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                                               February 19, 2025

VIAECF
Honorable Kenneth M. Karas
Southern District of New York
300 Quarropas Street
White Plains, New York 10601-4150


               Re:     MALDONADO v. TOWN OF GREENBURGH, et al.
                       18-cv-11077 (KMK)(LMS)
                       Our File No.: (TRI) 69938

Dear Judge Karas:

        As the Court is aware, the undersigned represents the defendant, Town of Greenburgh, in
the above-referenced matter. Our office is preparing a joint reply memorandum of law with the
individually named defendants who are represented by Thomas Troetti. Given that the defendants
would typically get 10 pages each, we are requesting up to 15 pages for our joint reply. This request
is also necessitated by the fact that Plaintiffs' Counsel has raised new arguments regarding the
death claim in opposition to the defendants' motion to dismiss that claim.

       Thank you for your time and attention to this matter.

                                                               Respectfully submitted,
                                                               C v - ~ A. S ~
                                                               CRISTINA A. SOLLER




cc: all parties via ECF
                                                          S00


                                                          HON. KENNETtt M. KARAS U.S.D.J.

                                                                J   /do/ ~o;)      5
